     Case 1:20-cv-03761-TNM            Document 20-4         Filed 11/20/21   Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                                   :
                                              :
             Plaintiff,                       :         Civil Action No. 1:20-cv-3761(TNM)
                                              :
     v.                                       :
                                              :
FEDERAL BUREAU OF                             :
PRISONS and UNITED                            :
STATES PAROLE COMMISSION,                     :
                                              :
             Defendants.                      :

                          DECLARATION OF JOHN NEWMAN

1.   My name is John Newman. I am over the age of eighteen years. I am competent to testify

     in this matter. I am the Plaintiff in this case.

2.   I am a retired Army officer presently employed as a political science professor at James

     Madison University in Harrisonburg, Virginia. I teach related classes and seminars on

     Cold War America and the presidency of John F. Kennedy at James Madison University.

     I also present educational materials on the Cold War and the Kennedy presidency at various

     seminars and colloquia, and publish results of my research in the form of books and articles.

     I have been involved in the scholarly academic research of the Cold War and the Kennedy

     presidency for the past 33 years. I continue to compile scholarly research on Cold War

     America and the presidency of John F. Kennedy for use in publications, the classes I teach,

     and for other educational purposes and distributional fora. As examples, in the past ten

     years I have taught classes on Counterterrorism, International Terrorism, and America in

     the 1960s.     I have done presentations on subjects directly related to the Kennedy




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     Case 1:20-cv-03761-TNM          Document 20-4        Filed 11/20/21       Page 2 of 3




     administration to the faculty and staff of JMU, and at major conferences in Dallas, Texas,

     and online presentations sponsored by Project JFK and James Madison University.

3.   I hold a Ph.D. in Modern Far Eastern History from George Washington University. I am

     a retired Major having held military assignments to the National Security Agency,

     including as military representative to General William Odom, Director of the National

     Security Agency. I have been employed as a college level professor for forty years at the

     University of Maryland Honors College and James Madison University. I have published

     six books and numerous articles on historical subjects including a concentration on the

     history of the United States during the Cold War with a specialization in the Kennedy

     Administration.

4.   As a result of my recent research into the Kennedy administration, the case of a former

     Cuban exile, Manuel Antonio Carlos Veciana Blanche (“VECIANA”), has become of

     critical interest and importance to several questions that have arisen.

5.   On 13 March 1974 VECIANA was sentenced to two concurrent seven-year terms, with an

     additional special parole of three years. VECIANA was incarcerated in the United States

     Penitentiary in Atlanta by the United States District Court for the Southern District of New

     York after a conviction on drug charges.

6.   VECIANA was released on parole in mid-February 1976. VECIANA died 18 June 2020

     and stated under oath that he was on parole at the time of his testimony before the United

     States House of Representatives Select Committee on Assassinations in May of 1978.

     Compl. Ex. 10, ECF No. 1-1 at p. 72.




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     Case 1:20-cv-03761-TNM         Document 20-4        Filed 11/20/21     Page 3 of 3




7.   I sought records related to VECIANA by filing FOIA requests directed to the Bureau of

     Prisons and the U.S. Parole Commission as described in the Complaint filed herein.

     Compl. ¶¶ 8, 18 and Exs. 1, 7; ECF Nos. 1 at pp. 3, 5 and 1-1 at pp.1, 49.

            I make this declaration pursuant to the provisions of 28 U.S.C. § 1746, under

     penalty of perjury.

            Executed this 20th day of November, 2021.

                                          /s/ John Newman
                                          _________________________
                                                  John Newman




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